 

 

 

 

Case 6:15-cv-01722-JA-KRS Document1 Filed 10/13/15 Page 1 of 15 PagelD 1 ‘ ,
AO 241 Page 2
(Rev. 06/13) :
PETITION UNDER 28 U.S.C. § 2254 FOR WRIT OF
HABEAS CORPUS BY A PERSON IN STATE CUSTODY
United States District Court District: M LDDLE
Name (under which you were convicted): Docket or Case No.: ,
Gepege. William did man y.15-cy- 22-0? ARS
Frisoner No.:

 

 

Place of Confinement :
Cult Coccechtional Tnstation - Annex 059203
Respondent (authorized person having custody of petitioner)

Petitioner (include the name under which you were convicted)

 

Tul ie Tones, Secretary of FDOC

 

 

 

 

 

 

 

George William G ictman
The Attorney General of the State of Flori da ) Pam ala Bo nd i
= Ny
m3
TTTION Tt ey
PETITION a 2
2 4
1. (a) Name and location of cour: that entered the judgment of conviction you are challenging: 8 Lf ad
The Ciceutt Court of the Alinth Judicial Circury, 529 7
YZ-S North Orange Avenue i . Coe oF
Orlando, FL32%0/ may

(b) Criminal docket or case number (if you know), 20/0- C F - 009035-RA-0

(a) Date of the judgment of conviction (if you know): / ~24-Z201/

2.
(b) Date ofsentencing: {- 28-201 {
3. Length of sentence: Li-f2
4. In this case, were you convicted on more than one count or of more than one crime? wf Yes QO No
5, Identify all crimes of which you were convicted and seatenced in this case:
6. (a) What was vour plea? (Check one)
of {3} Nolo contendere (no contest)

7 (1) Not guilty
J (23 Guilty Mm (4) Insanity plea

—
f? ITT
 

<

Page 3

Case 6 15-cv-01722-JA-KRS Document 1 Filed 10/13/15 Page 2 of 15 PagelD 2
AO 241
{Rev, 06/13} -
“(wy I If you entered a guilty pica to onc count or charge and a not guilty plea to another count or charge, what did
‘you pl plead guilty to and whai did you plead not guilty to? NV fp
.
(c) Ifyou went to trial, what kind of trial did you have? (Check onc}
GO Jury W Inder only ©
7. Did you testify at a pretrial hearing, trial, or a post-trial hearing?
| O Yes ri No
8. Did you appeal from the judgment of conviction?
of Yes 5 No
9. Ifyou did appeal, answer the following:

(a) Name of court: ‘D: stetet Court of Ae pen Fifth District
(b) Docket or case number (ifyou know): 5D 14-3030
(c) Re ult: Pee Guriam Affiemed

(d) Date of result (if you know): ‘Mocch 341, 20/5

(e) Citation to the case (if you know): Cictman v.state, $8 50.30 172 (teble (Fla, BthDoA 2011)

(H Grounds raised: f\ nd ex s Bei et

|

(2) Did

If ves, answer the following:

(1) Name of court: NA A

(2) Docket or case number (if you know): N fi A
(3) Result: N/A

(4) Date of result (if you know): N/ A

 

you seek further zeview by a higher state court? O Yes

a No
Case 6:15-cv-01722-JA-KRS Document1 Filed 10/13/15 Page 3 of 15 PagelD 3

AO 24] Page 4
(Rev. 06/13)

(5) Citation to the case (if you know): N/ q
(6) Grounds raised: W/®

(h) Did you file a petition for certiorari in the United States Supreme Court? O Yes of No
If yes, answer the following:
~ (1) Docket or case number (if you know): V/A
(2) Result: N/A

(3) Date of result (if you know): w/t A
(4) Citation to the case (if you know): N/ f
10. Other than the direct appeals listed above, have you previously filed any other petitions, applications, or motions
concerning this judgment of conviction in any state court? wt Yes 0 No
11. If your answer to Question 10 was “Yes,” give the following information:
(a) (1) Name of court? The C secur Couct of the Ninth Judicial Cieau “+
(2) Docket or case number (if you know): 20129 ~ C F-009035-A-O
(3) Date of filing (if you know): Nov. 20/2.
(4) Nature of the proceeding: Posttony: ction Rule 3.950
(5) Grounds raised: Gro un 4 One Coun 52) Rendeced Snaffactive Ass ‘ stan ce
For Failing yp Move To Disquaiity Ju dae
Cro vad Two ‘Counsel Rendered Dnetlective Assistance for
Failing To Lavastiyate The Case

Ground The ee? Counse| Rendered Lnelfective Assistance For
Failing To Advise Defendant of Possible
Dafanse -

Around Four: Counsel Rendered Tnetfective Assi stance For

Falian to File A Motion To Suppress Zuidence

(6) Did you receive 2 hearing where evidence was given on your petition, application, or motion?
J Yes af No

(7) Result: Denied
(8) Date of result (if you know}: Suly IS, 20/4
Case 6:15-cv-01722-JA-KRS Document1 Filed 10/13/15 Page 4 of 15 PagelD 4

AO 241
(Rey. 06/13)

(b) If you filed any second petition, application, or motion, give the same-information:
| {1} Name of court: N/A

(2) Docket or case number (if you know): N / A

(3) Date of filing (if you know): N/j A

(4) Nature of the proceeding: N / A

(5) Grounds raised: N/ A

(6) Did you receive a hearing where evidence was given on your petition, application, or motion?

Yes of No
(7) Resut: N/A

(8) Date of result (if vou know): N / f

i

(c} if you filed any third petition, application, or motion, give the same information:
| (1) Name of court: N/A
{2) Docket or case number (if you know): N/ A
(3) Date of filing (if you know): N/A
(4) Nature of the proceeding: N / A
(5) Grounds raised: N / A

Page 5

.
Case 6:15-cv-01722-JA-KRS Document1 Filed 10/13/15 Page 5 of 15 PagelD 5

AO 241 Page 6
(Rev. 06/13)

(6) Did you receive a hearing where evidence was given on your petition, application, or motion?
& Yes & No

(7) Result: V/A

(8) Date of result (if you know): N/ A
(d) Did you appeal to the highest state court having jurisdiction over the action taken on your petition, application,
or motion?

(1) First petition: of Yes MO No

(2) Second petition: O Yes of No

(3) Third petition: Yes w No

(ce) If you did not appeal to the highest state court having jurisdiction, explain why you did not: N / A

12, For this petition, state every ground on which you claim that you are being held in violation of the Constitution,
laws, or treaties of the United States. Attach additional pages if you have more than four grounds. State the facts
supporting each ground.

CAUTION: To proceed in the federal court, you must ordinarily first exhaust (use up) your available
state-court remedies on each ground on which you request action by the federal court. Also, if you fail to set
forth all the grounds in this petition, you may be barred from presenting additional grounds at a later date.

GROUND ONE: Counse\ Rendered Knelfachive Assistance For Failing
To Move ts Disquality Fudge

(a) Supporting facts (Do not argue or cite law. Just state the specific facts that support your claim.): The Pat itivner Cortends
that his due process and his tight yoequal protection of the Jaw was Vielated because
defense counsel failed do object and movi +o disqualify su age for Dispacaging Statements.
The Sudae’s oe der denying celied was based on false aaa iON. From beginaing of the

cing dhe teial Juclae initiated plea dialo ve statina™So any thought oF
cee es Pen his pont igo were done, t guess! The Judge des s5ed e
aggravating SeMbencing POSH LES FF the Petitionee i's convicted ina, Trial. During the trial
Preparations the dudge ceverted hack to Plea discussions instead oF pontinuing with pr/,/
preparad tons- Triad Counsel farted fo provide effectve cepresentation by fail ion p mova to
disqualify Judge and a5 & result Petitioner was prayudice and had ct not ben Coe Counse| 5
bnpreofessional errors would not have entered plea and insisted on preceeding to trial,

Sze Mimo candum oft Law,

(b) If you did not exhaust your state remedies on Ground One, explain why: N/ A

Exhausjed
Case 6:15-cv-01722-JA-KRS Document1 Filed 10/13/15 Page 6 of 15 PagelD 6

AO 241 Page 7
(Rev. 06/13)

(c) Direct Appeal of Ground One:
(1) If you appealed from the judgment of conviction, did you raise this issue? OG Yes of No

(2) If you did not raise this issue in your direct appeal, explain why: 3.850 Dsoue

(d) Post-Conviction Proceedings:
(1) Did you raise this issue through a post-conviction motion or petition for habeas corpus in a state trial court?
Yes O No
(2) If your answer to Question (d)(1) is "Yes," state:
Type of motion or petition: Rule 3.850

Name and location of the court where the motion or petition was filed: The Cireu it Court of the N inth Sudicr|
Crccutt, 425 Alocth Orange Avenue,

Oclando, FL 32901
Docket or case number (if you know): 2010 -C F -009035-A-O

Date of the court's decision: July 18, 2014

Result (attach a copy of the court's opinion or order, if available): N/ A

(3) Did you receive a hearing on your motion or petition? GO Yes & No
(4) Did you appeal from the denial of your motion or petition? & Yes O No
(5) If your answer to Question (d)(4) is “Yes," did you raise this issue in the appeal? oY Yes O No
(6) If your answer to Question (d)(4) is "Yes," state:

Name and location of the court where the appeal was filed: D istei ct Couct of A ppeal RathD sheet

300 Sovln Beach Street
Daytona Beach, FL 3214 - S002

Docket or case number (if you know): 5D 14-3030
Date of the court's decision: Macch 31, 20/5

Result (attach a copy of the court's opinion or order, if available): Per Cucs aw Affirmed

(7) If your answer to Question (d)(4) or Question (d)(5) is "No," explain why you did not raise this issue: N/ A
Case 6:15-cv-01722-JA-KRS Document1 Filed 10/13/15 Page 7 of 15 PagelD 7

AO 24] : Page 8
(Rev. 06/13)

(c) Other Remedies: Describe any other procedures (such 2s habeas corpus, administrative remedies, etc.) that you have

used to exhaust your state remedies on Ground One: N / A

GROUND TWO: Counsel Rendered Ineffective Assistonce For Failing To
Lavestigate The Case

(a) Supporting facts (Do not argue or cite law. Just state the specific facts that support your claim.): Petitioner conten ds + hot
Counsel Larled +o perform any pre-trial NVestigation i'n this Case, Counsel made No etfort to
Saderview witness who said he believed he could assist in the iAvestiguhon of examine the
Police caports of the Witness Statemenys to detectives . Counsa) foiled to ravestightt victim's
fhext door neighbor as yo why he wos atthe window MAK. a4 sounds that suddenly Qwakens
phe vichira nan effort fo make determination was these Sounds qifempts at forced enfry?
Counsel failed do have /atent prints found af Erime stene Compared fo Petitioner,
: is determine that these prints 's of valuzand have been cetained on
deficient that cesuldzd in Prejudice +> Prtifione and had it
ona | acrors would not have evened 0 plea and weuld have

IN eclice c2ports id
file. Counsal’s performance Was

not been for Counsel's un roqess. :
insisted on Proceeding fdoteial.Sez Mamocandum of Law,

(b) If you did not exhaust your state remedies on Ground Two, explain why. N / A

Exhousted

(c) Direct Appeal of Ground Swo:
(1) ff you appealed from the judgment of conviction, did you raise this issue? OM Yes w No

(2) If you did noi raise this issue in your direct appeal, explain why: 3.450 Tssue

(d) Post-Conviction Proceedings:
(1) Did you raise this issuz through a post-conviction motion or petition for habeas corpus in a state trial court?
WVes i} No
(2) If your answer to Question ¢<l)(1) is "Ves," state:
Type of motion or petition: Pos tconvicton Rule 3.550

: ‘ inth Sudicia)
Name and location of the court where the motion or petition was filed Th © Ciceu + Lo ur} of the Ni di
Ciccuit, 425 North Orange Avenue ,

Orlando, FL 3280

Docket or case number (if you know): 2010 - CF -009035-A- O
Date of the court's decision: Tu \y | g, Zol4
Case 6:15-cv-01722-JA-KRS Document1 Filed 10/13/15 Page 8 of 15 PagelD 8

AO 241 Page 9
(Rev. 06/13)

Result (attach a copy of the court's opinion or order, if available): N i;

(3) Did you receive a hearing on your motion or petition? 0 Yes oh No
(4) Did you appeal from the denial of your motion or petition? Yes QO No
(5) IF your answer to Question (d){4) is "Yes," did you raise this issue in the appeal? ot Yes O No
(6) If your answer to Question (d)(4) is "Yes," state:

Name and iocation of the court where the appeal was filed: Diotetct Cour} of Appeal Fifth District
30d South Beach Street

DaytonaBeach, FL 39/14 - 5D0e
Docket or case number (if you know): 5D 14-3030

Date of the court's decision: March 31, 20/5

Result (attach a copy of the court's opinion or order, ix available): Per Curiam Aft: emed

(7) If your answer to Question (d)(4) or Question (d)(5) is "No,” explain why you did not raise this issuc: N / A

(c) Other. Remedies: Describe any other procedures (such as habeas corpus, administrative remedies, etc.) that you :

have used to exhaust your state remedies on Ground Two N/ A

GROUND THREE: Counsel Rendered Lneffective Assistance for Failing To
Advise Petitioner of Possible Defense

(a) Supporting facts (Do not argue or cite law. Just state the specific facts that support your claim.): Pati}: ener CO afend 5

he had a cight to be informed of the facts in the cae in (tiation +o the hen and

he advised of the best Course of action dad any possible dekinse privy to entering,

a plea. Tal Counse} failed +o object fe the Dias» re jon En Liege mak prgbided
‘ et as an expert witness 4#o Verity her jo n . 5

Been eae tathials Ocfixed fe the assault kid Which would not auth enticat¢e

' duced the Kit, Counsel! failed +0 conduct
ct's Work ducino, the Fire he pro ' !
Ory research wis woh, there exist o conflict between M.Whi tney Peterson § Lab Report and

the Orlando Police Department's vavestigation that produced eae suspects in The fase
Counsel was deficient vesulting ia resrdice to Petitioner nad agit no isted A. cing to
for Qounsal’s errors, he would not have entered plea and weuld have insisted on going

{rial See Memorandum ef daw,
Case 6:15-cv-01722-JA-KRS Document1 Filed 10/13/15 Page 9 of 15 PagelD 9

AO 241
(Rev. 06/13)

Page 10

(b) If you did not exhaust your state remedies on Ground Three, explain why: N /p

{c)

(d)

Exhausted

Direct Appeal of Ground Three:
( 1) If you appealed from the judgment of conviction. did you raise this issue? MO Yes of No

(2) If you did not raise tis issue in your direct appeal, explain why: 3,850 L2sue

Post-Conviction Proceedings:

(1) Did you raise this issue through a post-conviction motion or petition for habeas corpus in a state trial court?
Yes M No

(2) If your answer to Question (d)(1) is "Yes," state:

Type of motion or petition: 3.28 50

—— peas in icra]
Name and location of the cout where the motion or petition was filed: fhe Citcu 4 Cpurt of the N " th Judic '
(recut 425 North Drange Auenu

, Orlando, KL 3930!
Docket or case number (if you know): 2.010-C F-004035°A-0

Date of the court's decision: July 1g ' 2.0] 4

Result (attach a copy of the court's cpinion or order, if available): N / A

(3) Did you receive a hearing on your motion or petition”? O Yes dt No
(4) Did you appeal from the denial of your motion or petition? of Yes O No
(5) If your answer to Question (d)(4) is "Yes," did you raise this issue in the appeal? ot Yes 3 No
(6) If your answer to Question (d)(4) is "Yes," state:

Name and location of the court where the appeal was filed: [yi steict Couct ot App eal Fi ftho istetet
300 South Beach Streat

Dayteoaa Beach, FL3 ally. 5002
Docket or case number (if you know): 5D 14-3030
Date of the court's decision: Macch 3}, 20/5

Resuli (attach a copy of the couri’s opinion or order, if available): Pee Cur 1am fA aa cmed
Case 6:15-cv-01722-JA-KRS Document1 Filed 10/13/15 Page 10 of 15 PagelD 10

(Rev. 06/13)

(7) If your answer to Question (d)(4) or Question (d)(5) is "No," explain why you did not raise this issue: N/ fi

(e) Other Remedies: Describe any other procedures (such as habeas corpus, administrative remedies, etc.) that you

have used to exhaust your state remedies on Ground Three: NV / A

GROUND FOUR: Counsel Rendered Lneffective Assistance For Failing To
File A Motion To Suppress Evidence

(a) Supporting facts (Do not argue or cite law. Just state the specific facts that support your claim.): Petiti pner Co ntends
thot terval Counsel failed to Conduct any meaningful pretrigh discevtey phat moy have
UNCeverad probable yampering or Contamination i 5S ues. Counsal farled to examind 4
obvious disceegencies of tha Crime Lab Analyst Report ana pelice investigative reports.
Counsel farled to explore why O bleed Sample taken From one of the Suspects Gnd the Sample
was never tested. Trial Counsel failed te explore possible issU@s that might have Given —
Ti52 to a SUPP eession motion but failed to pecform this duty. Counsal failed to make effort
to explore whether farlure to have avarlodte Suspect(s) tested was the result of Crime Lab
Negligqencry failure to adhere to Pre per protocol, Chain of custody f5SUCSy Caralessness

1a handling gansikve material evidence or bad faith 155ue5 te which any of such or

other Failures of duty could have been Yhe subject of o suppression motion. Counsel 's
Performance was deficrtat that cesulted in Prejudice to Petrtioner and had i+ not been for
Counsel's eerors Would not have entered o Pilea and would have insisted on a Yrial.

$2e Memorondum of Low.

(b) If you did not exhaust your state remedics on Ground Four, explain why: N / A

Exhausted

(c) Direct Appeal of Ground Four:
(1) if you appealed from the judgment of conviction, did you raise this issue? M Yes of No

(2) If you did not raise this issue in your direct appeal, explain why: 3.%50 Lssux

(d) Post-Conviction Proccedings:
(1) Did you raise this issue through a post-conviction motion or petition fur habeas corpus in a state trial court?
of Yes ry No

(2) ff your answer to Question (d)(!) ts “Yes,” state:

Type of motion or petition: Postoonv icfion Rule 3,950
Case 6:15-cv-01722-JA-KRS Document1 Filed 10/13/15 Page 11 of 15 PagelD 11

AO 241
Pp.
(Rev. 06/13) age 12

Name and location of the court where the motion or petition was filed: 77he- Lircu+ Cou ct of the Uinth Judicial
Ciccu i} 425 North Orange Qusnur
Orland, FL 3930!

Docket or case number (if you know): 20/0- C F - 009035-A-O

Date of the court's decision: July 13,2014

Result (attach 2 copy of the court's opinion or order, if available x N / A

(3) Did you receive a hearing on your motion or petition” O Yes of No
(4) Did you appeal from the denial of your motion or petition? cA Yes 0 No
(5) If your answer to Question (d)(4) is “Yes,” did you caise this issue in the appeal? of Yes O No
(6) I€ your answer to Question (d)(4) ts "Yes," siate:

Name and location of the court where the appeal was filed: District Co uct of Ae peal Fr £ th “Disthe tet
300 South Beach Street
Daytona Beach, FL 39//4- 5002

Docket or case number (if you know): 5D 14-3030

Date of the court's decision: March 31, 20/5
Result (attach a copy of the court’s opinion or order, if available): Pec Cuciam AL f cmed

(7) If your answer to Question (d)(4) or Question (d)(5) is "No," explain why you did not raise this issue: N 1

(c) Other Remedies: Describe any other procedures (such as habeas corpus, administrative remedies, etc.) that you

have used to exhaust your state remedies on Ground Four: N / f
Case 6:15-cv-01722-JA-KRS Document1 Filed 10/13/15 Page 12 of 15 PagelD 12

AO 241
(Rev. 06/13)

13.

14,

15.

Page 13

Please answer these additional questions about the petition you are filing:

(a) Have all grounds for relief that you have raised in this petition been presented to the highest state court
having jurisdiction? Yes GO No
If your answer is “No,” state which grounds have not been so presented and give your reason(s) for not

presenting them:

(b) — Is there any ground in this petition that has not been presented in some state or federal court? If so, which

ground or grounds have not been presented, and state your reasons for not presenting them: N /A

Have you previously filed any type of petition, application, or motion in a federal court regarding the conviction
that you challenge i in this petition? O Yes Jf No

If "Ycs,” state the name and tocation of the court, the docket or case number, the type of proceeding, the issues
raised, the date of the court's decision, and the result for each petiticn, application, or motion filed. Attach a copy

of any ‘court opinion or order, if available. N | A

Do you have any petition or appeal now pending (filed and not decided yel} in any court, either state or federal, for
the judgment you are challenging? — O Yes af No

If "Yes," state the name and location ef the court, the decket or case number, the type of proceeding, and the issues

raised. N/A
Case 6:15-cv-01722-JA-KRS Document1 Filed 10/13/15 Page 13 of 15 PagelD 13

AO 24) Page 14
(Rev. 06/13)

16. Give the name and address, if you know, of each attorney who represented you in the following stages of the

Judgment you are challenging:

(a) At preliminary hearing: Beth Bourden, Public Defender Ninth Judictal Ciccvit of Flor: da,
435 N. Orange Avz., Suit) Yoo, Orlando, Fé 32301

; ‘cial Circus aida,
(b) At arraignment and plea: Beth Bourden, Publ i¢ Defender Ninth dudicia| Circa } at Flo
435 N. Orange Ave, ou rte 400 Orlasdo, lL 39 80

(c) At trial: Beth Bourdea Mike Martinko Public Defeadee Ninth Sudicin) Circuit of Florida
435 N. Orange Ave.,Suite Yoo Orlando, 2 3990)

inth Judicial Ciccuit
° acing: h rden Mik rtinko, Public Defender NV nt.
(d) At sentencing Be aren We Orneae Ave,, Suite 400 br lando , FL 32 80!

(e) On appeal: George D.E. Ducden

(t) In any post-conviction proceeding: P-o se

(g) On appeal from any ruling against you in a post-conviction proceeding: Pro sv

17. Do you have any future sentence to serve after you complete the sentence for the judgment that you are
challenging? O Yes & No

(a) If so, give name and location of court that imposed the other sentence you will serve in the future: N/ A

(b) Give the date the other sentence was imposed: Ni / A
(c) Give the length of the other sentence: \) / A
(d) Have you filed, or do you plan to file, any petition chat challenges the judgment or sentence to be served in the
future? O ves of No
18. TIMELINESS OF PETITION: If your judgment of conviction became final over one year ago, you must explain

why the one-year statute of limitations as contained in 28 U.S.C. § 2244(d) does not bar your petition.*
“The Following Represents Tha Timeliness of Pedibion For
Wed OF Habeas Corpus
Direct Appeal, Per Curiam Affir med On Dec.. 6, 20//
Mondale Lssued On Feb. 4, L012
Posteonviction Rule 3.950 Filed On June Ig, 20/2
Ciccurt Court Striked Rule 3.85 /* 30 days to Amend Oct. 4, 20/2
Case 6:15-cv-01722-JA-KRS Document1 Filed 10/13/15 Page 14 of 15 PagelD 14

AO 24! Page 15
(Rev. 06/13)

Amended Rule 3.3 5O Filed Nov. 20/2

Circuit Court Denied Rule 4.650 Suly 18, Qol¢

Detendant Filed Enitial Brief on Nov. 17,2014

BY DCA. Per Curiam Affiom Dy Mar. 3], 20/5

th D.C. A. Tssued Mandahe June 4, 20/5

Petitioner now Files the instant Petition For Wr it of Habeas Corpus

 

* The Antiterrorism and Effective Death Penalty Act of 1996 ("AEDPA") as contained in 28 U.S.C. § 2244(d) provides in

part that:

() A one-year period of limitation shall apply to an application for a writ of habeas corpus by a person in
custody pursuant to the judgment of a State court. The limitation period shall run from the latest of -

(A) the date on which the judgment became final by the conclusion of direct review or the expiration
of the time for seeking such review:

(B) the date on which the impediment to filing an application created by State action in violation of
the Constitution or taws of the United States is removed, if the applicant was prevented from
filing by such state action;

(C) the date on which the constitutional right asserted was initially recognized by the Supreme Court,
if the right has been newly recognized by the Supreme Court and made retroactively applicable to
cases on collateral review; or

(D) the date on which the factual predicate of the claim or claims presented could have been
discovered through the exercise of due diligence.
Case 6:15-cv-01722-JA-KRS Document1 Filed 10/13/15 Page 15 of 15 PagelD 15

AO 24!
(Rev. 06/13)

(2)

Therefore, petitioner asks that the Court grant the following tclief: The Pot id; oner re

to Qeant

the altednative jrant & federal ev: entiary heari

Conducte

or any other

I declare (or

Writ of Habans Corpus was placed in the prison mailing systemon = ¢- 2 -/ gs

Page 16

The time during which a properly filed application for State post-conviction or other collateral review with

respect to the pertinent judgment or claim is pending shall not be counted toward any period of limitation
under this subsection.

guest this Couct
io And Sentence or
NA because no hearing WAS

Keliet by Vacating the judgement of Convict
hin the State Court.

clief to which petitioner may be entitled.

N/A

Signature of Attomey (if any)

pertify, verify, or state) under penalty of perjury that the foregoing is true and correct and that this Petition for

(:aonth, date, year).

Executed (signed) on 10- Z- 1s ; (date).

If the person Henin is not petitioner, siate relationship to petitioner and expli

ca Mylan , Proage 059003

Signature of Petitioner

ain why petitioner is not signing this petition.

C&ATIFICATE OF SERVICE

IT JHEREBY CERTIFY fhat a tkeue Copy of the foregoing has been
furnighed by placing it the hands of a Gurl Correctional Official for

May \ rn
yay Se
day af

L

‘ . ‘ ted af
Yo the Office of the Attorney General Pamala Bonds loca
coreezt Blvd. Suite 500, Daytona Beach FL 32118 on this 20

October 2015.

DECLARATION
DECLARE UNDER PENALTIES OF PERTURY Pursuantto F.9.92.525(2)

 

and Section 1746(2) that the foregoing, Petition For Writ of Habeas Coc pus
“s4tdue and Correct on this 278 day of October 2015.

 

_fuitinon, Beye 05428 2

 
